      Case: 17-10957   Document: 00514161068    Page: 1      Date Filed: 09/18/2017

     Case 3:16-cr-00448-B Document 87 Filed 09/18/17      Page 1 of 1 PageID 407



           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT
                             _______________________

                                 No. 17-10957
                               Summary Calendar
                                                                United States Court of Appeals
                                                                         Fifth Circuit

                            _______________________                    FILED
                         D.C. Docket No. 3:16-CR-448-1         September 18, 2017
                                                                  Lyle W. Cayce
UNITED STATES OF AMERICA,                                              Clerk

             Plaintiff - Appellee
v.

JEFFREY NDUNGI SILA,

             Defendant - Appellant

              Appeals from the United States District Court for the
                       Northern District of Texas, Dallas

Before DAVIS, CLEMENT, and COSTA, Circuit Judges.

                                JUDGMENT

       This cause was considered on the record on appeal.

       It is ordered that appellant’s motion for bail pending trial is DENIED.




                                                Certified as a true copy and issued
                                                as the mandate on Sep 18, 2017
                                                Attest:
                                                Clerk, U.S. Court of Appeals, Fifth Circuit
